             Case 14-15018                 Doc 32         Filed 04/02/15 Entered 04/02/15 16:33:37                                    Desc Main
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Fill in this information to identify your case:

Debtor 1                Bettye Jo Wray-Fears                                                               Check if this is:
                                                                                                           n An amended filing
Debtor 2                                                                                                   o A supplement showing post-petition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS                                                 MM / DD / YYYY

Case number           14-15018                                                                             o A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                                                    12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      n No. Go to line 2.
      o Yes. Does Debtor 2 live in a separate household?
            o No
            o Yes. Debtor 2 must file a separate Schedule J.
2.    Do you have dependents?             n No
      Do not list Debtor 1 and            o Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age                live with you?
      Do not state the                                                                                                                     o No
      dependents' names.                                                                                                                   o Yes
                                                                                                                                           o No
                                                                                                                                           o Yes
                                                                                                                                           o No
                                                                                                                                           o Yes
                                                                                                                                           o No
                                                                                                                                           o Yes
3.    Do your expenses include                   n No
      expenses of people other than
      yourself and your dependents?              o Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              1,495.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 5.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




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Debtor 1     Bettye Jo Wray-Fears                                                                      Case number (if known)      14-15018

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                300.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                               600.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                60.00
10.   Personal care products and services                                                    10. $                                                100.00
11.   Medical and dental expenses                                                            11. $                                                250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                100.00
14.   Charitable contributions and religious donations                                       14. $                                                 25.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                 100.00
      15b. Health insurance                                                                15b. $                                                   0.00
      15c. Vehicle insurance                                                               15c. $                                                 146.00
      15d. Other insurance. Specify: Professional Liability Ins.                           15d. $                                                  41.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: excise taxes                                                                  16. $                                                  10.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                 371.21
      17b. Car payments for Vehicle 2                                                      17b. $                                                   0.00
      17c. Other. Specify: student loans                                                   17c. $                                                 605.21
      17d. Other. Specify: student loan - consolidation of 5 loans                         17d. $                                                 978.09
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).          18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                   0.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Seminary training for Ordination (not incl travel)                  21. +$                                               517.70
      professional license fees/Dues                                                              +$                                               30.00
      tax prep fees                                                                               +$                                               67.00
      gifts                                                                                       +$                                               50.00
      continuing education expenses for current work                                              +$                                               62.50
      CONTACT LENSES                                                                              +$                                               55.00
22. Your monthly expenses. Add lines 4 through 21.                                                           22.     $                       6,568.71
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,054.42
    23b. Copy your monthly expenses from line 22 above.                                                    23b. -$                              6,568.71

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                                 -514.29

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      n No.
      o Yes.
      Explain:




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